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            EXHIBIT 5
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· · ·· · · · · · · · UNITED STATES DISTRICT COURT
· · ·· · · · · · · · · · · · · ·for the
· · ·· · · · · · · ·Northern District of California

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·   ·   ··   ·   ·John Stemmelin, on behalf of· · · · ·)
·   ·   ··   ·   ·himself and all others· · · · · · · ·)
·   ·   ··   ·   · · · · · · · · · · · · · · · · · · · )
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·   ·   ··   ·   · · · · · · · · · · · · · · · · · · · ) Civil Action No.
·   ·   ··   ·   · · · · · · · ·V.· · · · · · · · · · ·) 3:20-cv-04168-WHA
·   ·   ··   ·   · · · · · · · · · · · · · · · · · · · )
·   ·   ··   ·   ·Matterport, Inc.,· · · · · · · · · · )
·   ·   ··   ·   ·a Delaware Corp., et al.· · · · · · ·)
·   ·   ··   ·   · · · · · · · · · · · · · · · · · · · )
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·   ·   ··   ·   · · · · · · · · · · · ·DEFENDANTS.· · )

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· · ·Sibyl Chen called by the Defendant for examination,

· · ·taken pursuant to the Federal Rules of Civil

· · ·Procedure of the United States District Courts

· · ·pertaining to the taking of depositions before

· · ·Lindsay Welbers , a notary public within and

· · ·for the County of Cook and State of Illinois, on

· · ·the 19th day of November, 2021, at the hour of 4 p.m. cdt.

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· · ·· · · · · · · · ·REPORTED BY: LINDSAY WELBERS

·   ·   ··   ·   ·   · · · ·STATE OF ILLINOIS Notary ID: 911623
·   ·   ··   ·   ·   · · · · · · · · · · · · · · · · · · · · · · · · · · · ·2
·   ·   ··   ·   ·   · 1· · ·APPEARANCES VIA ZOOM:
·   ·   ··   ·   ·   · 2
·   ·   ··   ·   ·   · · · · · ·ZIMMERMAN LAW OFFICE
·   ·   ··   ·   ·   · 3· · · · BY: MS. SHARON HARRIS
·   ·   ··   ·   ·   · · · · · ·BY: MR. THOMAS A. ZIMMERMAN, JR.
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·   ·   ··   ·   ·   · 6· · · · Appeared on behalf of the Plaintiff;
·   ·   ··   ·   ·   · 7
·   ·   ··   ·   ·   · · · · · ·LEWIS BRISBOIS, BISGAARD & SMITH
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·   ·   ··   ·   ·   ·11
·   ·   ··   ·   ·   ·12· · ·ALSO PRESENT:
·   ·   ··   ·   ·   ·13· · · · COHELAN KHOURY & SINGER
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·1   original CEO of Matterport. He is my, he was my first boss at         ·1   · · · · ·SYBIL CHEN:· Yes.
·2   Matterport before I reported to Linda Itskovitz. And so the           ·2   · · · · ·SHARON HARRIS:· And did you look for those documents?
·3   only other person that I notified that I had been served was          ·3   · · · · ·SYBIL CHEN:· I have zero documents, since the time
·4   Linda Itskovitz, and it was just informative, just to let them        ·4   that I left Matterport. I have no documents in my possession.
·5   know.                                                                 ·5   So it made it easy to, I did a quick search on my Google Drive
·6   · · · · ·SHARON HARRIS:· And did you talk to Matt Bell over           ·6   and it turns out, it confirmed what I knew before which is I
·7   the telephone or was it an email?                                     ·7   left Matterport without any documents, as is common practice
·8   · · · · ·SYBIL CHEN:· It was a quick call, it was like a two          ·8   not to leave your employer with documents. So...
·9   minute call letting him know.                                         ·9   · · · · ·SHARON HARRIS:· Did you go to college?
10    · · · · ·SHARON HARRIS:· What did he tell you about it?              10    · · · · ·SYBIL CHEN:· I did.
11    · · · · ·SYBIL CHEN:· He advised that I should contact Judy          11    · · · · ·SHARON HARRIS:· Where did you go and did you
12    Audison and then the following morning, Judy, I guess, or            12    graduate?
13    Michael reached out. So I think Matt and Ben contacted Judy          13    · · · · ·SYBIL CHEN:· Yes. I went to the University of
14    before I could reach out and therefore I have heard from             14    California Berkeley and I graduated with a bachelor's.
15    Matterport counsel before I even had an opportunity to reach         15    · · · · ·SHARON HARRIS:· In what year was that?
16    out. That was what I wanted to know, which is what should I          16    · · · · ·SYBIL CHEN:· 2001.
17    do? And it became apparent very quickly.                             17    · · · · ·SHARON HARRIS:· Do you have any other degrees?
18    · · · · ·SHARON HARRIS:· And you said you also spoke with            18    · · · · ·SYBIL CHEN:· I do, I also went to Johns Hopkins
19    Linda Itskovitz regarding the notice of subpoena dep,                19    University for a master's degree in international relations.
20    deposition?                                                          20    · · · · ·SHARON HARRIS:· And what year did you get that
21    · · · · ·SYBIL CHEN:· Yes, I let her know that I was served.         21    degree?
22    · · · · ·SHARON HARRIS:· And what did she tell you?                  22    · · · · ·SYBIL CHEN:· 2004.
23    · · · · ·SYBIL CHEN:· She let me know she was also served.           23    · · · · ·SHARON HARRIS:· And what year did you first start
24    · · · · ·SHARON HARRIS:· And did she, did you learn anything         24    working for Matterport?


                                                                  Page 9                                                                 Page 11
·1   from her that you didn't already know?                                ·1   · · · · ·SYBIL CHEN:· I started working for Matterport in,
·2   · · · · ·SYBIL CHEN:· We have not discussed the case besides          ·2   gosh it was 2000... If you give me two seconds, I can pull it
·3   talking about, I said I was trying, it was very early. It was         ·3   up on my LinkedIn profile and give you an exact year and be
·4   right after I had been served, I believe and I was just               ·4   very precise. I started at Matterport in August of 2015.
·5   letting her know that I plan on working with Michael. And that        ·5   · · · · ·SHARON HARRIS:· And what was your job title when you
·6   was the nature of our call.                                           ·6   first started working for Matterport? What were you hired as?
·7   · · · · ·SHARON HARRIS:· And did she say she was going to do          ·7   · · · · ·SYBIL CHEN:· I was originally hired as one of two
·8   the same?                                                             ·8   hires to build out the entertainment media division for
·9   · · · · ·SYBIL CHEN:· Well, I think she was contemplating, she        ·9   Matterport and the title was something to the effect of senior
10    said something to the effect of she was going to come chat           10    manager. And then ultimately, if you looked on my LinkedIn
11    with her, with a, her friend or something to find out. I think       11    profile I ultimately was the director of partner development
12    she's trying to figure it out.                                       12    and marketing. But originally, I was, I believe, a senior
13    · · · · ·SHARON HARRIS:· And did you review any documents in         13    manager for the entertainment media division.
14    preparation for today?                                               14    · · · · ·SHARON HARRIS:· Yes I did look at your LinkedIn
15    · · · · ·SYBIL CHEN:· I reviewed the document that was shared        15    resume and it said you were a director of partner development
16    with me, the one that was served to me, the amended version          16    and marketing. Is that correct?
17    that was emailed to me by Michael Johnson.                           17    · · · · ·SYBIL CHEN:· Yes, correct. That was the title that I
18    · · · · ·SHARON HARRIS:· And you're referring to the notice of       18    ended up having, my, yeah, for the majority of my time there.
19    subpoena deposition - -                                              19    · · · · ·SHARON HARRIS:· And when did you leave Matterport?
20    · · · · ·SYBIL CHEN:· Correct.                                       20    · · · · ·SYBIL CHEN:· August 2018.
21    · · · · ·SHARON HARRIS:· And it noted that's set up for today?       21    · · · · ·SHARON HARRIS:· And why did you leave Matterport?
22    · · · · ·SYBIL CHEN:· Correct.                                       22    · · · · ·MICHAEL JOHNSON:· Objection, calls for personal and
23    · · · · ·SHARON HARRIS:· And did you look at the rider to the        23    private information, and it's not relevant to the case.
24    deposition subpoena that was seeking documents?                      24    · · · · ·SYBIL CHEN:· I left, I was looking to make a career


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·1   change and wanted to take some time off. So I traveled for a        ·1   all customers, not only to MSPs. So it was not, it was not
·2   little while.                                                       ·2   specific to MSPs, no.
·3   · · · · ·SHARON HARRIS:· So you resigned from your position in      ·3   · · · · ·SHARON HARRIS:· And you said it was promotional video
·4   2018?                                                               ·4   for Matterport camera. Do you recall which camera?
·5   · · · · ·SYBIL CHEN:· Yes.                                          ·5   · · · · ·SYBIL CHEN:· It was the first promo video that I
·6   · · · · ·SHARON HARRIS:· Can you describe what your job duties      ·6   recall that Matterport ever had that was promoting the
·7   were when you worked for Matterport?                                ·7   original Matterport camera. Subsequently we also, I also
·8   · · · · ·MICHAEL JOHNSON:· Objection, the question is               ·8   produced the video that was promoting the Matterport Pro2.
·9   overbroad. You can answer it.                                       ·9   · · · · ·SHARON HARRIS:· Any other videos that you produced
10    · · · · ·SHARON HARRIS:· I was hired to initially help build       10    while you were there at Matterport?
11    out the entertainment and media division. That role, that          11    · · · · ·SYBIL CHEN:· There were 10 or so how-to videos. They
12    division ended up winding down and then I ended up working in      12    were technical in nature and they were stuff like how to turn
13    marketing team, during which I spent a majority of my time         13    on the camera, how to edit the, a scan, how to upload your
14    focusing on PR, content marketing, and video content creation.     14    scan, how to share a scan, that kind of stuff. So there was a
15    · · · · ·SHARON HARRIS:· Did you have any responsibility for       15    series of about 10 videos that we released to YouTube.
16    supervising other employees?                                       16    · · · · ·SHARON HARRIS:· Were they very long videos?
17    · · · · ·SYBIL CHEN:· For the most part, no, not untill about      17    · · · · ·SYBIL CHEN:· There were two minute or so on average,
18    the last four months or so that I was at Matterport and then       18    based on my recollection.
19    at that point, I did supervise one person who was the event        19    · · · · ·SHARON HARRIS:· Did you have any other
20    marketing person at Matterport.                                    20    responsibilities or duties with respect to the MSP program?
21    · · · · ·SHARON HARRIS:· What was that person's name?              21    · · · · ·MICHAEL JOHNSON:· Objection, question assumes facts,
22    · · · · ·SYBIL CHEN:· Allison Xuereb.                              22    it's argumentative.
23    · · · · ·SHARON HARRIS:· How do you spell her last name?           23    · · · · ·SYBIL CHEN:· Responsibilities as pertains to MSP, my
24    · · · · ·SYBIL CHEN:· X-U-E-R-E-B.                                 24    responsibilities were not at all specific to the MSP program.

                                                             Page 13                                                                    Page 15
·1   · · · · ·SHARON HARRIS:· I'm sorry, one more time, please.          ·1 My role was to, the majority of my time at Matterport was on
·2   · · · · ·SYBIL CHEN:· X as in xylophone, U-E-R-E-B.                 ·2 the marketing team and it was generalized to general content
·3   · · · · ·SHARON HARRIS:· Thank you. And what was her job            ·3 marketing, as it pertained to all customers. I was never
·4   title?                                                              ·4 focused on MSP. So I would say I also managed, I focused a lot
·5   · · · · ·SYBIL CHEN:· She was the event marketing manager, to       ·5 of time on PR, so I manage the PR firm on retainer, so, but it
·6   the best of my recollection.                                        ·6 was not specific to MSP, no.
·7   · · · · ·SHARON HARRIS:· While you were at Matterport did you       ·7 · · · · ·SHARON HARRIS:· Just so I understand, it it fair to
·8   work with Linda Itskovitz?                                          ·8 say that your marketing was mainly focused on the cameras?
·9   · · · · ·SYBIL CHEN:· I did. She was my boss.                       ·9 · · · · ·SYBIL CHEN:· It was, so marketing for any company, is
10    · · · · ·SHARON HARRIS:· Did you report to anyone else?            10 you're often marketing your product to a specific customer
11    · · · · ·SYBIL CHEN:· Yes, I had five bosses while I was at        11 segment. So I was marketing the camera, our main product, to
12    Matterport.                                                        12 all customer segments. So yeah, if that clarifies. So I'm
13    · · · · ·SHARON HARRIS:· Can you list them for me? And if you      13 making the statement that it was not specific to any one
14    could tell me their titles.                                        14 customer segment. Sometimes I create content specific to
15    · · · · ·SYBIL CHEN:· I worked for Matt Bell, CEO. I worked        15 certain customer segments. But it was generally, most of the
16    for Linda Itskovitz, VP marketing. I worked for Bill Brown,        16 time it was general to all customers.
17    CEO. I worked for Chris Bell, CMO. Yeah, actually four, four       17 · · · · ·SHARON HARRIS:· So you don't recall ever making
18    bosses.                                                            18 anything specifically just for the MSP program.
19    · · · · ·SHARON HARRIS:· Did you have any role in the              19 · · · · ·SYBIL CHEN:· For the MSP program, part of the content
20    advertising and marketing of the Matterport Pro Cameras, the       20 marketing that I might have done that would have been specific
21    cloud services, or the Matterport Service Partner Program?         21 to MSP might have been blog content.
22    · · · · ·MICHAEL JOHNSON:· Objection, compound.                    22 · · · · ·SHARON HARRIS:· Okay. And how would you describe that
23    · · · · ·SYBIL CHEN:· I had a hand in creating promotional         23 blog content? And I'll start with that, first. How would you
24    video for the camera, which was used to promote the camera to      24 describe that blog content?


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·1 · · · · ·SYBIL CHEN:· While you're doing that, I'm going to       ·1        have been the two primary channels.
·2   put a box under my computer so it's more elevated so I don't    ·2        · · · · ·SHARON HARRIS:· Okay, I would like to mark an
·3   have to crouch, I can have my computer at my eye level.         ·3        exhibit. I'm going to share my screen and I'd like to mark
·4   · · · · ·SHARON HARRIS:· All right, you guys are ready?         ·4        this as Exhibit 1. Let's see if this works. Let me pull up the
·5   · · · · ·SYBIL CHEN:· Yes.                                      ·5        document. I thought it would still be open. There it is. I'd
·6   · · · · ·SHARON HARRIS:· Is there anyone else in the room with  ·6        like to mark, this will be Exhibit 1 and I will email it
·7   you right now?                                                  ·7        around after the deposition. So this is a screenshot of
·8   · · · · ·SYBIL CHEN:· No, the babysitter was moving with my     ·8        matterport.com from the Wayback Machine taken on April 19th,
·9   daughter and there's no one else in the room.                   ·9        2017. Does this look familiar to you?
10    · · · · ·SHARON HARRIS:· Who was in charge of the Facebook     10         · · · · ·MICHAEL JOHNSON:· Can you scroll through the whole
11    Matterport Official User Group page?                           11         document so that I can see what it is and how many pages it
12    · · · · ·SYBIL CHEN:· I guess you could say I was, since I     12         is.
13    created it, I was tasked with creating a forum. And that was,  13         · · · · ·SYBIL CHEN:· So I was not, I don't believe I was on
14    I opted to do on Facebook.                                     14         the marketing team in April of 20, what year did you say?
15    · · · · ·SHARON HARRIS:· Why did you decide to create the      15         2017?
16    Matterport Official User Group page on Facebook?               16         · · · · ·SHARON HARRIS:· April 19th, 2017.
17    · · · · ·SYBIL CHEN:· Why did I select that social media       17         · · · · ·SYBIL CHEN:· Let me think when I transitioned? I - -
18    channel? Because the majority of Americans have a profile. So  18         · · · · ·SHARON HARRIS:· So you started in August of 2015.
19    it's just easier to reach a broader audience.                  19         · · · · ·SYBIL CHEN:· So, after working for Matt Bell, I think
20    · · · · ·SHARON HARRIS:· My question was more like why did you 20         it must have been, in 2016 I think I was, I don't recall when
21    decide to create such a page to begin with? Not that why, not, 21         Matt left Matterport but I worked for Matt until his last day
22    in general why did you decide to do that?                      22         at Matterport. And so whatever that last day was, I continued
23    · · · · ·SYBIL CHEN:· The company, as I understood it, felt    23         to work on building out Matterport Gallery. So I've focused on
24    that it would be beneficial to have our customers across all   24         that for some time before making the full transition to

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·1   industries and segments, be able to connect with one another,        ·1   working for Linda. So I don't, I'm not sure. Maybe, maybe I
·2   share ideas, share their scans that they're proud of, and just       ·2   was working on the marketing team, but it might have, it must
·3   create a sense of community, which is not unusual for most           ·3   have been right around that time. But I don't remember seeing
·4   companies that have a lot of customers.                              ·4   the page.
·5   · · · · ·SHARON HARRIS:· And so some of the people on that           ·5   · · · · ·SHARON HARRIS:· Do you remember when you started the
·6   Facebook page were Matterport service partners, correct?             ·6   Matterport Official User Group page on Facebook?
·7   · · · · ·SYBIL CHEN:· Correct.                                       ·7   · · · · ·SYBIL CHEN:· I don't but if you look at news, you'll
·8   · · · · ·SHARON HARRIS:· So you would respond to Matterport          ·8   find out. Whatever the first date is, is the first, is the
·9   service partners when they posted on that Facebook page?             ·9   date that it was created.
10    · · · · ·SYBIL CHEN:· Correct.                                      10    · · · · ·SHARON HARRIS:· Give me just a second. So I have a
11    · · · · ·COURT REPORTER:· Sorry, would you repeat that?             11    post from Matterport Users Group by you on September 20th,
12    · · · · ·SYBIL CHEN:· Correct.                                      12    2017. It says as of today, Matterport has started an official
13    · · · · ·COURT REPORTER:· Thank you.                                13    Facebook Matterport Official User Group.
14    · · · · ·SHARON HARRIS:· Did you use any other social media in      14    · · · · ·SYBIL CHEN:· Yeah, that would be it.
15    your position at Matterport?                                        15    · · · · ·SHARON HARRIS:· Does that sound right?
16    · · · · ·SYBIL CHEN:· To communicate on behalf of the company?      16    · · · · ·SYBIL CHEN:· That sounds right.
17    · · · · ·SHARON HARRIS:· Yes.                                       17    · · · · ·SHARON HARRIS:· So prior to that date, though, have
18    · · · · ·SYBIL CHEN:· The social media channels are managed by      18    you been commenting on the Matterport user group page on
19    someone else in the marketing team if I recall. So really my        19    Facebook?
20    primary concern and our responsibility was to manage, to            20    · · · · ·SYBIL CHEN:· Sorry, the Matterport user group, there
21    manage, at least within the social media realm it was               21    are many user groups that are tied to Matterport the MSP
22    Facebook. So I don't recall using other social channels. We         22    created so do you mean the Matterport Official User Group?
23    might have posted an occasional announcement to LinkedIn but I      23    · · · · ·SHARON HARRIS:· No there's one that's just called
24    don't recall using LinkedIn often and beyond that, those must       24    Matterport User Group.


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·1 meeting of the board of directors?                                ·1        · · · · ·SHARON HARRIS:· Okay, we're ready.
·2   · · · · ·SYBIL CHEN:· No, usually no. If she used anything,     ·2        · · · · ·COURT REPORTER:· On the record.
·3   yeah, she never asked me to, I don't recall her asking me to    ·3        · · · · ·SHARON HARRIS:· Ms. Chen, I just have one question
·4   provide her any information to use for, use for the board of    ·4        about the pilot program we were just discussing. You said that
·5   directors. That's not to say that she might not have used       ·5        you're trying to democratize and I just want to know what you
·6   stuff that we had talked about in a meeting. But I don't, she   ·6        meant by democratize.
·7   never asked me for any material.                                ·7        · · · · ·SYBIL CHEN:· Well, I meant, I would define
·8   · · · · ·SHARON HARRIS:· Have you ever heard anyone at          ·8        democratize as kind of scaling the business, making it easy
·9   Matterport mention a pilot project in San Francisco called      ·9        for anyone to access scanning services.
10    Lions, Tigers and Bears?                                       10         · · · · ·SHARON HARRIS:· So you mean, okay, so anyone could
11    · · · · ·SYBIL CHEN:· Lions, Tigers and Bears. I have not      11         use the scanning services, is that what you mean?
12    heard of a pilot called Lions, Tigers and Bears.               12         · · · · ·SYBIL CHEN:· I mean it in the, I'm trying to give a
13    · · · · ·SHARON HARRIS:· Have you heard of any 3D scan pilot   13         definition that, to kind of make it as clear and simple as
14    project by Matterport in San Francisco?                        14         possible. So I mean it in the sense that it's usually used
15    · · · · ·SYBIL CHEN:· I've heard of a pilot project, I was not 15         like to help proliferate a product to help scale it to make it
16    aware that it was based in San Francisco.                      16         easier to use, access.
17    · · · · ·SHARON HARRIS:· When Matterport announced the pilot,  17         · · · · ·SHARON HARRIS:· Okay. I have no further questions.
18    there was so much of the backlash by MSPs that Matterport      18         · · · · ·MICHAEL JOHNSON:· I have no questions. Sybil, thank
19    announced within a matter of days, they were withdrawing it,   19         you. Before we go off the record, I do want to designate this
20    is that correct?                                               20         deposition as confidential under the protective order. With
21    · · · · ·SYBIL CHEN:· Sorry, say that one more time.           21         the caveat that if plaintiff's counsel wants to use any part
22    · · · · ·SHARON HARRIS:· Court Reporter If you read it back.   22         of his testimony in support of their motion, I'm more than
23    · · · · ·COURT REPORTER:· When Matterport announced the pilot, 23         happy to refer in advance to the designated as confidential.
24    there was so much backlash by MSPs that Matterport announced   24         To make it as easy as possible because finding documents that

                                                                 Page 33                                                                      Page 35
·1   within a matter of days that they were withdrawing it, is that        ·1 are sealed is very difficult.
·2   correct?                                                              ·2 · · · · ·SHARON HARRIS:· Thank you for your time, Miss Chen.
·3   · · · · ·SYBIL CHEN:· I don't know. That was not, I recall            ·3 · · · · ·SYBIL CHEN:· Thank you.
·4   there being a pilot, I was not involved in the pilot in any           ·4 · · · · ·TOM ZIMMERMAN:· We're gonna order, Jason Hill is
·5   way, shape or form. So I don't recall there, I don't recall           ·5 going to take care of ordering, Jason's firm is, so.
·6   there being a backlash, also, because I was in the dark about         ·6 · · · · ·COURT REPORTER:· So yes, for you, Mr. Zimmerman. Yes,
·7   what the pilot was or when it was happening or where it was           ·7 for you, Mr. Hill.
·8   happening. So I don't remember a backlash.                            ·8 · · · · ·MICHAEL JOHNSON:· No, we're together, we're together.
·9   · · · · ·SHARON HARRIS:· So you don't remember what the pilot         ·9 We both represent the plaintiff. Jason Hill is going to order
10    project was about?                                                   10 for - -
11    · · · · ·SYBIL CHEN:· I have a vague recollection of what the        11 · · · · ·JASON HILL:· So for the reporter, please send an
12    pilot was about. But I do not have any specifics. Because I          12 invoice to my firm to J Hill. At C-K-S-L-A-W law dot com. C
13    was not involved in the pilot, in any way, shape, or form.           13 is in cat, K as in kite, S as in Sam, law dot com. And then
14    · · · · ·SHARON HARRIS:· And what was your vague recollection        14 also please, for the same invoice, please send to B Valdez,
15    of what the pilot was?                                               15 Bridgette Valdez. So it's a B and then Valdez, V-A-L-D-E-Z at
16    · · · · ·SYBIL CHEN:· The pilot was to understand if                 16 CKSLaw.com, same email domain. And then we would probably want
17    Matterport could potentially democratize scanning services.          17 this expedited. And please do that for us. And then we will,
18    They wanted to test out what that might look like, what              18 once we get the invoice we will get payment to you.
19    mechanisms would have to be in place to help democratize 3D          19 · · · · ·COURT REPORTER:· Alright, when you say expedited, do
20    scanning. And beyond that, I don't know what they were               20 you have a date in mind?
21    actually doing to make that happen.                                  21 · · · · ·JASON HILL:· Well, we have a certification motion on
22    · · · · ·SHARON HARRIS:· Okay, I want to take a break right          22 the 22nd or 23rd of December. So you know, we would like to
23    now and go over my notes. So can we go off the record please?        23 have the testimony transcribed hopefully by the next week or
24    · · · · ·MICHAEL JOHNSON:· Ready to go.                              24 so.


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